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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORE.

CIPHERBLADE, LLC, a Pennsylvania Limited
Liability Corporation, : ORDER DENYING
: TEMPORARY RESTRAINING
Plaintiff, ORDER AND PRELIMINARY
-against- : INJUNCTION

CIPHERBLADE, LLC, an Alaska Limited : 23 Civ. 05671 (AKH)
Liability Corporation, MANUEL KRIZ, :

MICHAEL KRAUSE, JORN HENRIK

BERNHARD JANSSEN, SERGIO GARCIA,

JUSTIN MAILE, [OANA VIDRASAN,

and

CIPHERBLADE APAC PTE LTD, a Singapore
limited company, JUSSI AITTOLA,

and

OMEGA3ZONE GLOBAL LTD, a Cyprus limited:
company, PAUL MARNITZ,

and

INQUISITA SOLUTIONS LTD., a Cyprus limited:
company,

and
GREEN STONE BUSINESS ADVISORY FZ
LLC, a United Arab Emirates Limited Liability

Corporation.

Defendants

ALVIN K. HELLERSTEIN, U.S.D.J.:
Plaintiff filed an amended complaint on July 18, 2023 and moved for a temporary

restraining order and preliminary injunction on July 20, 2023. I heard arguments on July 26,
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2023 and August 3, 2023. Except to the areas of agreement between the parties as defined in the
stipulation to be filed on or before August 8, 2023, Plaintiffs motion for emergency relief is
denied.

Plaintiff has adopted a new trade name to distinguish itself from others, has been
given access to its business records to enable it to compete, and there is no likelihood of
confusion. Plaintiff's additional claims based on disparagement also have been resolved.
Plaintiff remains free to pursue its lawsuit for damages, so it cannot complain of irreparable
damage. For further details regarding this ruling, please see the argument transcripts.

Defendants filed a motion to dismiss the complaint for lack of subject matter
jurisdiction under Fed. R. Civ. P. 12(b)(1), lack of personal jurisdiction under Fed. R. Civ. P.
12(b)(2), and improper venue under Fed. R. Civ, P. 12(6)G) on August 2, 2023. Plaintiffs
opposition papers are due August 24, 2023. Defendant’s reply is due September 7, 2023. These

dates were agreed upon by the parties, so there will be no adjournments.

SO ORDERED. .
Dated: August 3, 2023 LatA., fe » {be LY, ¢ a
New York, New York ALVIN K. HELLERSTEIN

United States District Judge

